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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 19−22313−SLM
                                          Chapter: 7
                                          Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Susan Kicska
   65 Bay Street
   Apt. 4204
   Jersey City, NJ 07302
Social Security No.:
   xxx−xx−5695
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that John Sywilok is discharged as trustee of the estate of the above named debtor(s) and the bond
is canceled; and the case of the above named debtor(s) is closed.


Dated: January 14, 2020                         Stacey L. Meisel
                                                Judge, United States Bankruptcy Court
